 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 1 of 24 PageID #:3380




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


ANDREW CORZO, et al., individually and on behalf of
all others similarly situated,

                                 Plaintiffs,
                                                      Case No. 1:22-cv-00125
                           v.
                                                      Honorable Matthew F. Kennelly
BROWN UNIVERSITY, et al.,


                          Defendants.



           MOTION FOR PROTECTIVE ORDER BY DEFENDANTS
  BROWN UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE
CITY OF NEW YORK, TRUSTEES OF DARTMOUTH COLLEGE, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU LAC, AND YALE UNIVERSITY
      Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 2 of 24 PageID #:3381




                                                    TABLE OF CONTENTS

INTRODUCTION AND BACKGROUND ....................................................................................1

ARGUMENT ...................................................................................................................................4

I.        Relevance and Proportionality Must Be Tied to the Claims and Defenses Asserted. .........4

II.       Discovery into Admissions and Development Activities of the Moving Defendants
          Is Not Relevant to the Merits of Plaintiffs’ Claim or the Statute of Limitations
          Defense. ...............................................................................................................................5

III.      The Discovery at Issue Is Not Proportional to the Needs of the Case. ..............................10

CONCLUSION ..............................................................................................................................15




                                                                        i
   Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 3 of 24 PageID #:3382




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

17 Outlets, LLC Healthy Food Corp. v. ThurKen III, LLC,
   No. 15-cv-101-JD, 2016 WL 6781217 (D.N.H. Nov. 16, 2016) .............................................11

Always Towing & Recovery, Inc. v. City of Milwaukee,
   2 F.4th 695 (7th Cir. 2021) ........................................................................................................7

Am. Guard Servs., Inc. v. Terminal Sec. Sols., Inc.,
   No. 18–cv–0603, 2019 WL 366202 (W.D. Wash. Jan. 30, 2019) .............................................5

Baker v. F & F Inv.,
   420 F.2d 1191 (7th Cir. 1970) ...................................................................................................9

City of Chi. v. Purdue Pharma, L.P.,
    No. 14–cv–4361, 2020 WL 3578497 (N.D. Ill. July 1, 2020) .........................................4, 5, 11

Goldman v. As You Like It Silver Shop, Inc.,
   No. 18–cv–6802, 2019 WL 718739 (E.D. La. Feb. 20, 2019) ................................................11

Klehr v. A.O. Smith Corp.,
   521 U.S. 179 (1997) ...................................................................................................................9

Motorola Sols., Inc. v. Hytera Commc’ns Corp.,
   314 F. Supp. 3d 931 (N.D. Ill. 2018) .......................................................................................14

Motorola Sols., Inc. v. Hytera Commc’ns Corp.,
   365 F. Supp. 3d 916 (N.D. Ill. 2019) .......................................................................................10

N. Am. Soccer League v. United States Soccer Fed’n,
    883 F.3d 32 (2d Cir. 2018).....................................................................................................7, 8

Nat’l Collegiate Athletic Ass’n v. Alston,
   141 S. Ct. 2141 (2021) ...............................................................................................................8

Ohio v. Am. Express Co.,
   138 S. Ct. 2274 (2018) ...............................................................................................................7

Oppenheimer Fund, Inc. v. Sanders,
   437 U.S. 340 (1978) ...............................................................................................................4, 5

R.J. Reynolds Tobacco Co. v. Cigarettes Cheaper!,
    462 F.3d 690 (7th Cir. 2006) .....................................................................................................5




                                                                    ii
   Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 4 of 24 PageID #:3383




R.J. Reynolds Tobacco Co. v. Premium Tobacco Stores Inc.,
    No. 99–cv–01174, 2000 WL 1923332 (N.D. Ill. Nov. 15, 2000) ..............................................5

Sapia v. Bd. of Educ. of the City of Chi.,
   2017 WL 2060344, at *2 (N.D. Ill. 2017). ..............................................................................15

Seiden v. Frazer Frost, LLP,
    796 F. App'x 381 (9th Cir. 2020) ...............................................................................................9

Sidney Hilman Health Ctr. of Rochester v. Abbott Lab Inc.,
   782 F.3d 922, 928 (7th Cir. 2015) .............................................................................................9

Simmons v. CPI Apartment Fund,
   No. 14–cv–11855, 2014 WL 4681734 (E.D. Mich. Sept. 19, 2014) ...................................5, 11

Texaco Inc. v. Dagher,
   547 U.S. 1 (2006) .......................................................................................................................6

United States v. 416.81 Acres of Land,
   514 F.2d 627 (7th Cir. 1975) ...................................................................................................11

Virgin Atl. Airways Ltd. v. Brit. Airways PLC,
   257 F.3d 256 (2d Cir. 2001).......................................................................................................8

Willmar Poultry Co. v. Morton-Norwich Prod., Inc.,
   No. 4-74-CIV. 276, 1974 WL 936 (D. Minn. Oct. 1, 1974), aff'd, 520 F.2d 289
   (8th Cir. 1975)..........................................................................................................................10

In re Zantac (Ranitidine) Prod. Liab. Litig.,
    No. 20-MD-2924, 2021 WL 5299847 (S.D. Fla. Nov. 15, 2021)............................................15

Statutes

15 U.S.C. § 1 n. ...............................................................................................................................6

Sherman Act § 1.......................................................................................................................2, 5, 9

Court Rules

Fed. R. Civ. P. 26(b)(1)..............................................................................................................4, 10

Fed. R. Civ. P. 26(b)(2)(C) ........................................................................................................4, 10

Fed. R. Civ. P. 26(c) ........................................................................................................................1

Fed. R. Civ. P. 26(c)(1) ....................................................................................................................4

Fed. R. Civ. P. 26(c)(1)(C) ............................................................................................................15



                                                                      iii
   Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 5 of 24 PageID #:3384




Local Rule 37.2 ................................................................................................................................1

Rule 26 ...............................................................................................................................3, 4, 5, 10




                                                                       iv
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 6 of 24 PageID #:3385




       Defendants Brown University, The Trustees of Columbia University in the City of New

York, Trustees of Dartmouth College, Northwestern University, University of Notre Dame du Lac,

and Yale University (the “Moving Defendants”) move the Court for entry of a Protective Order

pursuant to Fed. R. Civ. P. 26(c) barring Plaintiffs from obtaining discovery related to Admissions

and Development activities. This discovery was grossly disproportionate to the issues in this case

from the outset, and now is even further disproportionate since the Moving Defendants are

withdrawing the statutory antitrust exemption from the defenses asserted in their Answers to

Plaintiffs’ Second Amended and Supplemental Class Action Complaint, Dkt. 266-1 (“SAC”).1

                            INTRODUCTION AND BACKGROUND

       Plaintiffs are pursuing an antitrust claim based on financial aid awards to admitted

students—specifically the methodology that each Defendant uses to calculate need-based aid and

that aid’s effect on the net cost of attendance. See SAC ¶ 1 (alleging Defendants have participated

“in a price fixing cartel that is designed to reduce or eliminate financial aid as a locus of

competition …”). Defendants’ practices for admitting students are not relevant to this claim and

any alleged injury. Indeed, the putative class is limited to students who were admitted to the

Defendant institutions. Id. at ¶ 223. Nonetheless, Plaintiffs seek burdensome and intrusive

discovery into Defendants’ Admissions and Development activities, which they have repeatedly

characterized as the “smoking gun” in their submissions to this Court. Specifically, Plaintiffs have

propounded more than 70 requests for production aimed, in whole or in part, at discovering


1 The Moving Defendants have complied with Local Rule 37.2 by meeting and conferring with Plaintiffs’
counsel in a good-faith effort to resolve or narrow this dispute. The meet and confers took place via
videoconference on January 4, 2023 and January 11, 2023 and included the following participants: for the
Moving Defendants, Jon Roelke, Noah Kaufman, Amy Van Gelder, Laura Bernescu, Terri Mascherin,
Ishan Bhabha, Douglas Litvack, Lina Powell, Casey Carlson, Scott Stein, Kathleen Carlson, Benjamin
Brunner, Sarah Kirkpatrick, Charles Loughlin, Benjamin Holt and Holden Steinhauer, and for the Plaintiffs,
Ted Normand, Peter Bach-y-Rita, Richard Cipolla, Bob Gilbert and Bob Litan. See Van Gelder Decl., Ex.
1, ¶ 11 n.1, ¶¶ 12-13, ¶ 14 n.2, ¶¶ 15-18 in Supp. of Mot. for Protective Order.
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 7 of 24 PageID #:3386




whether Defendants’ admissions practices were “need blind,” as Plaintiffs interpret that term.

These far-reaching requests demand that Defendants produce—for a nearly 25-year period—

among other things: (1) detailed data concerning all applicants for admission and admissions

decisions; (2) applicant letters of recommendation; (3) admissions policies and communications;

(4) documents concerning “enrollment management”; (5) documents and communications

concerning the consideration of donor or legacy status in admissions; (6) communications between

admissions personnel and personnel in the President’s office, development office, or financial aid

office; and (7) documents concerning Defendants’ development strategies and practices, including

potentially sensitive personal information concerning thousands of individual donors. See Ex. 1, ¶

5; Roellke Decl., Ex. 2, ¶ 2; 2nd Van Gelder Decl., Ex. 3, ¶ 2; Mascherin Decl., Ex. 4, ¶ 2; Stein

Decl., Ex. 5, ¶ 2; Kirkpatrick Decl., Ex. 6, ¶ 2; Holt Decl., Ex. 7, ¶ 2. Plaintiffs acknowledged

during discovery conferences that they seek such information solely to disprove an affirmative

defense that each Defendant pleaded in its Answer to the First Amended Complaint: that

collaboration via the 568 Presidents Group, including developing the Consensus Methodology for

assessing financial need, is exempt from antitrust liability under the Section 568 statutory

exemption to the Sherman Act (the “Exemption”). See Ex. 2, ¶ 2; Ex. 3, ¶ 2; Ex. 4, ¶ 2; Ex. 5, ¶ 2;

Ex. 6, ¶ 2; Ex. 7, ¶ 2.

        With their forthcoming Answers to Plaintiffs’ SAC, the Moving Defendants are

withdrawing the Exemption from their defenses. The Moving Defendants are making this

amendment in light of the Court’s discussion of the Exemption in its Opinion and Order denying

Defendants’ Motion to Dismiss, see Dkt. 185 at PageID 1001–1011, and in the interest of

streamlining the disputed issues for discovery and trial, particularly given Plaintiffs’ insistence on

extensive (and often redundant) discovery into this single issue and their unwillingness to negotiate




                                                  2
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 8 of 24 PageID #:3387




a more reasonable scope. The Moving Defendants informed Plaintiffs on January 4, 2023, that

they would withdraw this defense and sought Plaintiffs’ agreement that voluminous Exemption-

related discovery from the Moving Defendants is no longer relevant or proportional. Ex. 1, ¶ 11.

       Withdrawal of this defense should have been welcome news to Plaintiffs: it significantly

narrows the disputed issues, reduces the burden and expense for both Plaintiffs and the Moving

Defendants, and allows these parties to focus on the antitrust issues that form the gravamen of

Plaintiffs’ case. For example, significant discovery disputes described in the parties’ 50-page Joint

Status Report relating to custodians and the scope of discovery from Defendants could be avoided

entirely. See Dkt. 274. Rather than recognizing these benefits and agreeing to avoid (or even to

meaningfully limit) unnecessary discovery, however, Plaintiffs have proposed that Moving

Defendants respond to extensive RFPs despite their withdrawal of the Exemption defense,

including all of their RFPs concerning Moving Defendants’ Development activities and many of

their RFPs concerning Admissions, revealing that Plaintiffs’ goal in pursuing such discovery is to

harass and embarrass, rather than because it is relevant to their actual antitrust claim. See Ex. 1, ¶¶

13–15. The parties have reached impasse on this issue. Accordingly, the Moving Defendants seek

a protective order precluding discovery from the Moving Defendants with respect to their

Admissions and Development activities, including through the requests for production and search

terms identified in Exhibit C to Exhibit 1.

       A protective order is warranted. Under Rule 26, discovery is limited to matters that are both

relevant to a claim or defense and proportional to the needs of the case. Here, the withdrawal of

the Moving Defendants’ Exemption defense fundamentally alters both the relevance and

proportionality of discovery regarding the Admissions and Development activities of the Moving

Defendants. Plaintiffs’ antitrust claim concerns the financial aid awards matriculating students




                                                  3
     Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 9 of 24 PageID #:3388




received while attending the Defendant institutions. The antecedent question of which students

were admitted in the first place, and the grounds for those admissions decisions, is irrelevant to

Plaintiffs’ claim or any defense asserted by the Moving Defendants. Nor does discovery related

solely to admissions decisions have any relevance to a rule-of-reason analysis or to any non-

Moving Defendants’ Exemption defense. Regardless, even if this disputed discovery had some

attenuated relevance, the vast amount of data and documents that Plaintiffs continue to seek from

the Moving Defendants is entirely disproportionate to the needs of the case. There are far more

targeted and reasonable ways to address these matters than subjecting the Moving Defendants—

who have made a good-faith effort to streamline disputed issues by dropping this affirmative

defense—to discovery that appears at this stage designed to burden and harass the Moving

Defendants rather than address live and salient disputes.

                                           ARGUMENT

I.       Relevance and Proportionality Must Be Tied to the Claims and Defenses Asserted.

         Discovery is limited to matters that are “relevant to any party’s claim or defense and

proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Rule 26 “requires the court to limit

discovery that falls outside the scope of Rule 26(b)(1),” “is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less burdensome,

or less expensive.” City of Chi. v. Purdue Pharma, L.P., No. 14–cv–4361, 2020 WL 3578497, at

*2 (N.D. Ill. July 1, 2020) (quoting Fed. R. Civ. P. 26(b)(2)(C)). The Court may issue a protective

order to enforce these boundaries and prevent “undue burden or expense,” by “forbidding inquiry

into certain matters, or limiting the scope of disclosure or discovery.” Fed. R. Civ. P. 26(c)(1).

         Relevance and proportionality change when the claims, defenses, and contentions asserted

by the parties evolve over the course of litigation. Indeed, “it is proper to deny discovery of [a]

matter that is relevant only to claims or defenses that have been stricken.” Oppenheimer Fund, Inc.


                                                  4
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 10 of 24 PageID #:3389




v. Sanders, 437 U.S. 340, 352 (1978). In R.J. Reynolds Tobacco Co. v. Cigarettes Cheaper!, 462

F.3d 690 (7th Cir. 2006), for example, Reynolds initially contended that certain products had

different formulations, prompting discovery into each product’s additives. Id. at 700. Rather than

produce sensitive business documents, Reynolds amended its complaint while discovery was

underway to remove this claim. Id.; see also R.J. Reynolds Tobacco Co. v. Premium Tobacco

Stores Inc., No. 99–cv–01174, 2000 WL 1923332, at *1 (N.D. Ill. Nov. 15, 2000). Reynolds then

sought a protective order foreclosing discovery into additives, which the district court granted, and

the Seventh Circuit upheld. 462 F.3d at 700–01. The reason was simple: evidence related to

additives was “not relevant” to any claim or defense after Reynolds amended its pleading. Id.

       Other decisions from within and beyond the Seventh Circuit confirm that amendments to

pleadings can fundamentally change the proper scope of discovery, warranting entry of protective

orders that enforce Rule 26’s boundaries and “enable [p]laintiff’s claims to be more efficiently

litigated and resolved.” Simmons v. CPI Apartment Fund, No. 14-cv-11855, 2014 WL 4681734,

*2 (E.D. Mich. Sept. 19, 2014) (granting protective order from discovery into attorney-client

communications after defendant amended answer to withdraw advice-of-counsel affirmative

defense); see also, e.g., City of Chi., 2020 WL 3578497, at *4 (ruling that discovery into withdrawn

claims was “no longer relevant”); Am. Guard Servs., Inc. v. Terminal Sec. Sols., Inc., No. 18–cv–

0603, 2019 WL 366202, at *2 (W.D. Wash. Jan. 30, 2019) (same as to withdrawn allegations).

II.    Discovery into Admissions and Development Activities of the Moving Defendants Is
       Not Relevant to the Merits of Plaintiffs’ Claim or the Statute of Limitations Defense.

       Plaintiffs allege that Defendants conspired to reduce the amount of financial aid awarded

to admitted students in violation of Section 1 of the Sherman Act. SAC ¶ 265. That claim concerns

the financial aid process, and it alleges injury to a putative class of students who attended, and

received need-based financial aid from, one of the Defendant institutions. Id. ¶ 11. Plaintiffs do



                                                 5
 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 11 of 24 PageID #:3390




not allege any anticompetitive conduct or injury related to admissions processes or decisions

(indeed, each was admitted and matriculated at one of the Defendant institutions). Admissions

processes and decisions have relevance in this case only because the Exemption is available to

institutions that admit students “on a need-blind basis.” 15 U.S.C. §1 note (Application of Antitrust

Laws to Award of Need-Based Educational Aid); see SAC ¶¶ 135–195. Because the Moving

Defendants are not asserting any defense based upon the Exemption, the intrusive and burdensome

Admissions and Development discovery Plaintiffs continue to seek is not relevant to the merits of

the claim against the Moving Defendants. Specifically, that discovery does not bear on which

standard—per se or rule of reason—applies to the antitrust claim, the analysis of the claim under

either standard, the purported injury or damages, or the statute of limitations defense.

       First, Admissions and Development activities are not relevant to this Court’s determination

of whether to apply the per se or rule-of-reason analysis. The former applies only to a narrow

category of conduct, requiring a naked agreement among competitors to fix prices, reduce output,

or allocate markets without a conceivable procompetitive justification. See Texaco Inc. v. Dagher,

547 U.S. 1, 1–5 (2006). Here, the parties dispute whether the challenged conduct constitutes a

naked price-fixing agreement: Plaintiffs contend that the Consensus Methodology is an agreement

among competing institutions regarding a substantial determinant of net tuition price, SAC ¶ 115;

Defendants assert that the Consensus Methodology was part of a procompetitive collaboration (the

568 Presidents Group) developing voluntary financial aid principles to best assess financial need.

Discovery relevant to determining the proper standard will necessarily focus on these contentions.

Why some putative class member was admitted to a Defendant institution (or why someone

outside the putative class was not admitted) is simply irrelevant to Plaintiffs’ antitrust claim.




                                                  6
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 12 of 24 PageID #:3391




        Second, if Plaintiffs were correct that per se analysis applies (they are not), the inquiry

would be cabined primarily to whether the Defendants participated in the alleged conspiracy and

whether Plaintiffs were injured as a result, further limiting the relevant discovery. See Always

Towing & Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 704 (7th Cir. 2021).2 Plaintiffs cannot

maintain that discovery into Admissions and Development activities are relevant to a per se case.

        Third, the discovery that Plaintiffs seek regarding Admissions and Development activities

are likewise irrelevant and unnecessary under the rule of reason. That standard requires a three-

step analysis: (1) “the plaintiff has the initial burden to prove that the challenged restraint has a

substantial anticompetitive effect that harms consumers in the relevant market”; (2) “then the

burden shifts to the defendant to show a procompetitive rationale for the restraint”; and finally

(3) “the burden shifts back to the plaintiff to demonstrate that the procompetitive efficiencies could

be reasonably achieved through less anticompetitive means.” Ohio v. Am. Express Co., 138 S. Ct.

2274, 2284 (2018) (internal citations omitted). At the first step, the inquiry will focus on the alleged

agreement to adopt and follow the Consensus Methodology to assess admitted students’ need for

financial aid, and whether that alleged agreement had anticompetitive effects. See SAC ¶¶ 96–134

(alleging anticompetitive effects from use of the Consensus Methodology). The SAC lacks any

allegation about a reduction in competition for admissions, as opposed to financial aid. See id.

¶¶ 135–95.

        The discovery at issue is likewise immaterial to steps two and three. At step two,

Defendants may show procompetitive justifications for collaborating on voluntary financial aid

principles—including improved accuracy, predictability, and stability in need assessment and

expanding access to higher education. See Dkt. 147 at PageID 606–07; see also, e.g., N. Am.


2 As Plaintiffs put it, the sole issue would be whether “each Defendant entered into [the alleged]
agreement to fix prices.” Pls.’ Opp’n to Mot. to Dismiss, Dkt. 164 at PageID 701.


                                                     7
 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 13 of 24 PageID #:3392




Soccer League v. United States Soccer Fed’n, 883 F.3d 32, 44 (2d Cir. 2018) (recognizing stability

rationale as procompetitive justification). Those justifications for principles underlying financial

aid awards to admitted students have nothing to do with Defendants’ admissions policies. Step

three requires Plaintiffs to propose a less restrictive alternative to the challenged restraint—the

alleged agreement to develop and use the Consensus Methodology—that achieves the same

benefits. The proposed alternative must (1) be “significantly (not marginally) less restrictive,”

Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2164 (2021); (2) “achieve the same

procompetitive benefits,” id. at 2162; (3) constitute an “alternative program” to the challenged

restraint (such as creating a different approach to assess financial need), Virgin Atl. Airways Ltd.

v. Brit. Airways PLC, 257 F.3d 256, 265 (2d Cir. 2001); and (4) “be reasonably achiev[able],” Am.

Express Co., 138 S. Ct. at 2284. That inquiry focuses solely on alternatives to the Consensus

Methodology for assessing financial aid. Plaintiffs cannot rebut the procompetitive justifications

for the 568 Presidents Group and its Consensus Methodology by showing that member institutions

could have been, but were not, “need blind” in admissions or engaged in “wealth favoritism.”

Instead, Plaintiffs would need to demonstrate a less restrictive alternative to collaboration on

financial aid (not admissions) that could achieve the same benefits as the 568 Presidents Group’s

Consensus Methodology without the allegedly negative effects on students receiving financial aid.

       Fourth, information related to Admissions and Development activities are irrelevant to

injury and damages. Plaintiffs allege that they and members of the putative class—students who

were admitted, enrolled in one of the Defendant institutions, and were eligible for financial aid—

received less aid and therefore paid more money to attend college than they would have. SAC

¶¶ 123–34. Measuring purported damages will require a comparative analysis between different

approaches to assessing financial need to determine what aid Plaintiffs would have received but




                                                 8
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 14 of 24 PageID #:3393




for the alleged conspiracy. Plaintiffs do not (and cannot) allege any injury to students who

supposedly were not admitted, or did not enroll, due to any purportedly non-need-blind admissions

practice. Any such students are, by definition, excluded from the putative class. Id. ¶ 11.3

        Finally, contrary to Plaintiffs’ contention, Dkt. 255 at PageID 2975–77, Admissions and

Development discovery has no probative value to Defendants’ statute of limitations defense. The

statute of limitations focuses on the cause of action itself (the alleged Sherman Act violation), not

an affirmative defense (the Exemption). Knowledge about the applicability of “defenses—

hypothetical or otherwise—do not toll otherwise applicable statutes of limitations.” Seiden v.

Frazer Frost, LLP, 796 F. App'x 381, 383 (9th Cir. 2020). To defeat the statute of limitations

defense, Plaintiffs must show that they could not have discovered “the existence of [the] cause of

action” or their injury, neither of which is related to Exemption-related discovery. Baker v. F & F

Inv., 420 F.2d 1191, 1198–99 (7th Cir. 1970) (citations omitted) (emphasis added). This Court

indicated that the Exemption is an affirmative defense, not an element of Plaintiffs’ claim. Dkt. 185

at PageID 1002–03; see also SAC ¶¶ 135–37. As the Court held, “a complaint need not anticipate

and overcome affirmative defenses, such as the statute of limitations.” Dkt. 185 at PageID 1015.

(quoting Sidney Hilman Health Ctr. of Rochester v. Abbott Lab Inc., 782 F.3d 922, 928 (7th Cir.

2015)). Accordingly, Plaintiffs’ purported ignorance about the applicability of an affirmative

defense could not have stopped them from filing their claim in a timely manner.

        Discovery sought from Defendants also cannot shed light on what Plaintiffs knew or should

have known about the claim, injury, or even the applicability of the Exemption defense. For

example, the fraudulent concealment exception requires that Plaintiffs did not know and could not

have known about the offense. Klehr v. A.O. Smith Corp., 521 U.S. 179, 194–95 (1997) (finding


3 Moreover, the Moving Defendants have all agreed to provide the discovery needed to prove Plaintiffs’
alleged damages—discovery into need determinations and financial aid awards for admitted students.


                                                   9
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 15 of 24 PageID #:3394




that tolling of the statute of limitations requires that the plaintiff “neither knew nor, in the exercise

of due diligence, could reasonably have known of the offense”). Crucially, the scope of what

Plaintiffs could have known must be based on publicly available information, which requires no

discovery at all. Similarly, the scope of what Plaintiffs did know cannot be gleaned from discovery

into the Defendants’ files. Willmar Poultry Co. v. Morton-Norwich Prod., Inc., No. 4-74-CIV. 276,

1974 WL 936, at *2 (D. Minn. Oct. 1, 1974), aff'd, 520 F.2d 289 (8th Cir. 1975) (“[D]iscovery of

defendants’ records cannot establish fraudulent concealment if it can presently be shown that

plaintiffs knew of their cause of action prior to [four years before the action].”).

        In sum, resolving the merits of Plaintiffs’ antitrust claim or the statute of limitations defense

does not require information from the Moving Defendants about Admissions and Development

activities. Whatever information might be relevant for Defendants claiming the Exemption, the

Moving Defendants are not putting their Admissions or Development activities at issue.

III.    The Discovery at Issue Is Not Proportional to the Needs of the Case.

        Even if discovery regarding the Moving Defendants’ Admissions and Development

activities were marginally relevant, “relevance alone does not translate into automatic

discoverability under Federal Rule of Civil Procedure 26.” Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019). The discovery sought also must be

“proportional” to the needs of the case, requiring consideration of, among other factors, “the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1); see also Fed. R. Civ. P.

26(b)(2)(C) (requiring courts to limit discovery that is disproportionate).

        District courts have “long held that it is permissible to refuse to grant discovery of matters

of ‘marginal relevance.’” Motorola Sols., Inc., 365 F. Supp. 3d at 924 (collecting cases). When the

target of discovery withdraws claims or defenses, discovery sought related to those claims or


                                                   10
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 16 of 24 PageID #:3395




defenses may no longer be proportional, even if that discovery is arguably still relevant. See City

of Chi., 2020 WL 3578497, at *4–5 (finding discovery disproportionate where plaintiff dropped

claims related to the discovery and defendants could obtain the evidence, to the extent relevant,

from other sources); cf., e.g., United States v. 416.81 Acres of Land, 514 F.2d 627, 632 (7th Cir.

1975) (finding no error where court rejected interrogatories related to stricken defenses); Goldman

v. As You Like It Silver Shop, Inc., No. 18–cv–6802, 2019 WL 718739, at *2 (E.D. La. Feb. 20,

2019) (modifying and limiting subpoenas where plaintiff withdrew claim); 17 Outlets, LLC

Healthy Food Corp. v. ThurKen III, LLC, No. 15-cv-101-JD, 2016 WL 6781217, at *4 (D.N.H.

Nov. 16, 2016) (finding discovery into resolved and unasserted claims to be disproportionate);

Simmons, 2014 WL 4681734, at *2 (granting protective order related to withdrawn defense).4

        Although the Moving Defendants are no longer relying on the Exemption, Plaintiffs

continue to seek the exact same far-reaching and burdensome discovery into their Admissions and

Development activities, contending that this discovery remains relevant to the Exemption defense

asserted by other Defendants. Dkt. 274 at PageID 3219. Seeking Exemption-related from the

Moving Defendants on the same scale as from the other Defendants maintaining the Exemption

defense is not proportionate to the needs of the case because the burden and expense of such

discovery far outweighs any minimal benefit to Plaintiffs.

        Plaintiffs propounded more than 70 requests for production aimed at the Exemption

defense. Ex. 1, ¶ 5; Ex. 2, ¶ 2; Ex. 3, ¶ 2; Ex. 4, ¶ 2; Ex. 5, ¶ 2; Ex. 6, ¶ 2; Ex. 7, ¶ 2. As set out in

the declarations attached hereto as Exhibit(s) 1–7, responding to these requests would require the

Moving Defendants to expend significant time, resources, and costs. The Moving Defendants


4 Indeed, Plaintiffs themselves have taken the position that amendment of their complaint to remove parents
and guardians as putative class members is germane to the inquiry of whether discovery from Plaintiffs’
parents and guardians should proceed. See Pls.’ Mem. of Law in Supp. of Their Mot. For Protective Order
to Prohibit Defs. From Serving Subpoenas on Pls.’ Families, Dkt. 271 at 1.


                                                    11
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 17 of 24 PageID #:3396




collectively would have to review hundreds of thousands of additional documents of agreed

custodians because they hit on Exemption-related search terms and even more when adding other

custodians that Plaintiffs claim are necessary to the Exemption-related discovery. See Ex. 2, ¶ 4

(increasing the number of documents for review from 354,539 to 661,797 documents, an 86%

increase); Ex. 3, ¶ 4 (increasing the number of documents for review from 355,119 to 615,112

documents, a 73% increase); Ex. 4, ¶ 3 (increasing the number of documents for review from

247,666 to 655,134 documents, a 164% increase); Ex. 5, ¶ 3 (increasing the number of documents

for review by over 313,000 documents); Ex. 6, ¶ 8 (increasing the number of documents for review

from 75,948 to 152,817 documents, a 101% increase); Ex. 7, ¶¶ 10–11 (increasing the number of

documents for review from approximately 330,000 to 430,000 documents, a 30% increase); see

also Dkt. 255 at PageID 2971–74. The Moving Defendants would each also have to query, extract,

and de-identify voluminous admissions databases collectively containing millions of individual

admissions records as far back as 1998. Ex. 2, ¶ 7; Ex. 3, ¶ 5; Ex. 4, ¶¶ 5–6; Ex. 5, ¶ 5; Ex. 6, ¶¶

4–6; Ex. 7, ¶¶ 4–7. These databases and documents contain FERPA-protected information, which

will require heightened review and detailed redaction to comply with federal law and protect

student confidentiality, driving costs even higher. The chart below reflects the unnecessary

documents and data Plaintiffs continue to demand that the Moving Defendants search, review, and

produce:5

  Discovery Category         Brown          Columbia           Dartmouth     Northwestern           Yale
 Additional documents     300,000+         259,000+           400,000+      313,000+           100,000+
 to be reviewed
 Admissions data          500,000+         600,000+           300,000+      479,000+           650,000+
                          applicants;      applicants;        applicants;   applicants;        applicants;
                          Hundreds of      Thousands          1,000+ data   Thousands of       700+ data fields
                          data fields      of data            fields        data fields
                                           fields




5 Ex. 2, ¶¶ 4–7; Ex. 3, ¶¶ 4–5; Ex. 4, ¶¶ 3, 5; Ex. 5, ¶¶ 3, 5; Ex. 6, ¶¶ 5, 8; Ex. 7, ¶¶ 4–7, 10–11.



                                                         12
  Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 18 of 24 PageID #:3397




        Further, several of Plaintiffs’ Exemption-related requests call for the Moving Defendants

to first identify family members of applicants who have donated, or who are capable of donating,

$50,000 on a one-time basis or whose donations over time totaled $50,000 or more, and then

produce documents or communications related to those donors and/or their family members. See

Ex. 1 at Ex. A, Nos. 20, 128, 129, Ex. B., No. 4; Ex. 4 ¶ 6. None of the Moving Defendants have

a reliable, automated way to discern whether family members of donors were applicants for

admission. For those schools that have been able to identify which donors have donated in excess

of $50,000, there are thousands of such donors. Ex. 2, ¶ 8; Ex. 3, ¶ 6; Ex. 4, ¶ 6; Ex. 5, ¶ 6; Ex. 6,

¶ 7; Ex. 7, ¶ 9. Nor has any Moving Defendant identified an automatic or non-burdensome way to

assess donors who are or were capable of donating in excess of $50,000. As a result, responding

to this request would require the Moving Defendants to undertake a manual process of attempting

to match development and admissions records, which—given the volume of such data—would

require hundreds (if not thousands) of hours of attorney and contractor time, all at considerable

expense in the magnitude of millions of dollars. The Moving Defendants estimate that aggregate

costs associated with this additional work would be millions of dollars per Defendant. Ex. 2, ¶¶ 3,

10; Ex. 3, ¶ 3; Ex. 4, ¶ 4; Ex. 5, ¶ 3; Ex. 6, ¶¶ 7, 9; Ex. 7, ¶¶ 7, 12.

        These burdens and costs far outweigh the only possible benefit of this discovery to

Plaintiffs: disproving the Exemption defense asserted by other Defendants. This Exemption-

related discovery unquestionably is not relevant to Plaintiffs’ case against the Moving Defendants

who are withdrawing that defense. Under the Court’s Opinion and Order denying Defendants’

Motion to Dismiss, if Plaintiffs can demonstrate that a single member of the alleged conspiracy

was not “need blind” (including as to waitlist and transfer admissions) within the meaning of the

Exemption, then no Defendant is exempt from antitrust liability. See Dkt. 185 at PageID 1009–




                                                   13
 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 19 of 24 PageID #:3398




1010. While the Moving Defendants do not concede that point, it is certainly the case that given

that ruling, Plaintiffs cannot demonstrate that taking onerous discovery from all Defendants—

including the Moving Defendants—is proportional to the needs of the case. Plaintiffs can obtain

any necessary discovery from sources that are less burdensome and costly to the Moving

Defendants—namely, from the 11 Defendants who continue to assert the Exemption defense.

Indeed, Plaintiffs are seeking expansive evidence concerning the non-Moving Defendants’

Admissions and Development activities. As a result, any similar evidence obtained from the

Moving Defendants would be unnecessarily cumulative and duplicative. Plaintiffs affirmatively

assert that they already have evidence that some schools were not need blind and, therefore, “all

seventeen Defendants are liable.” See, e.g., Dkt. 274 at PageID 3243 (stating that Emory “publicly

announced that one of its campuses would be need-aware going forward”); SAC ¶¶ 142, 155

(citing Vanderbilt and Emory websites). Regardless of whether need awareness of a single 568

Presidents Group member either during or after its respective membership is sufficient to establish

that “all seventeen Defendants are liable,” Plaintiffs fail to explain why the evidence they already

proffer is not sufficient for their theory that the Exemption defense is unavailable to the other

schools that continue to assert it, let alone explain why unbridled Admissions and Development

discovery is proportional for the Moving Defendants.

       Additionally, the requested discovery remains grossly disproportionate to the needs of the

case even if Exemption-related discovery were relevant to Defendants’ statute of limitations

defense. Courts recognize that discovery into statute of limitations defenses must be targeted and

narrow. Motorola Sols., Inc. v. Hytera Commc’ns Corp., 314 F. Supp. 3d 931, 939 (N.D. Ill. 2018)

(“[T]he burden and expense of the proposed discovery manifestly outweighs its likely benefit to

the very limited question of equitable tolling. Although the federal discovery rules are permissive,




                                                14
 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 20 of 24 PageID #:3399




they are not, as Judge Moran wisely put it, “a ticket to an unlimited ... exploration of every

conceivable matter that captures an attorney’s interest.” (quoting Sapia v. Bd. of Educ. of the City

of Chi., 2017 WL 2060344, at *2 (N.D. Ill. 2017)). There are more targeted and narrower ways to

assess whether Plaintiffs should have known about the alleged offense and whether Defendants

acted to conceal it. See, e.g., In re Zantac (Ranitidine) Prod. Liab. Litig., No. 20-MD-2924, 2021

WL 5299847, at *3 (S.D. Fla. Nov. 15, 2021) (“As Defendants note, there are numerous alternative

sources of equally or more probative evidence.”). Nevertheless, Plaintiffs refuse to propose

targeted, narrow discovery and insist on virtually all the Exemption-related discovery they seek.

This position is incompatible with the Federal Rules of Civil Procedure.

       Document production in this case has just commenced, so it remains unclear what evidence

Plaintiffs will uncover—beyond that already publicly available—in support of their theory that the

Exemption is inapplicable to those other Defendants. But what is clear is that Plaintiffs have ample

opportunity to take discovery on the Exemption from those Defendants actually asserting that

defense, as well as other 568 Presidents Group members who are not defendants in this case. The

Moving Defendants are streamlining the issues in this litigation and should not bear the significant

burden and costs associated with discovery aimed at an affirmative defense they do not assert.

Discovery taken from the Moving Defendants on these issues, if any, should be more targeted and

less burdensome than the wide-ranging discovery that Plaintiffs currently seek. See Fed. R. Civ. P.

26(c)(1)(C).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant this Motion and enter the Proposed

Protective Order as to the Moving Defendants.




                                                15
 Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 21 of 24 PageID #:3400




Dated: January 14, 2023              Respectfully submitted,


                                      By: /s/ Kenneth Kliebard
                                      Kenneth Kliebard
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      110 North Wacker Drive
                                      Suite 2800
                                      Chicago, IL 60606-1511
                                      Tel: 312-324-1000
                                      kenneth.kliebard@morganlewis.com

                                      Jon R. Roellke
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      1111 Pennsylvania Avenue, NW
                                      Washington, DC 20004-2541
                                      Tel: 202-739-5754
                                      jon.roellke@morganlewis.com

                                      Sujal Shah
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      One Market, Spear Street Tower, 28th Floor
                                      San Francisco, CA 94105-1596
                                      Tel: 415-442-1386
                                      sujal.shah@morganlewis.com

                                      Counsel for Defendant Brown University

                                      By: /s/ Patrick Fitzgerald
                                      Patrick Fitzgerald
                                      Amy Van Gelder
                                      SKADDEN, ARPS, SLATE, MEAGHER &
                                      FLOM LLP
                                      155 N. Wacker Drive
                                      Chicago, IL 60606-1720
                                      Tel: 312-407-0508
                                      patrick.fitzgerald@skadden.com
                                      amy.vangelder@skadden.com

                                      Karen Hoffman Lent
                                      SKADDEN, ARPS, SLATE, MEAGHER &
                                      FLOM LLP
                                      One Manhattan West
                                      Room 40-216


                                       16
Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 22 of 24 PageID #:3401




                                     New York, NY 10001-8602
                                     Tel: 212-735-3276
                                     karen.lent@skadden.com

                                     Counsel for Defendant The Trustees of
                                     Columbia University in the City of New York

                                     By: /s/ Terri L. Mascherin
                                     Terri L. Mascherin
                                     Reid J. Schar
                                     JENNER & BLOCK LLP
                                     353 N. Clark Street,
                                     Chicago, IL 60654-3456
                                     Tel: 312-222-9350
                                     tmascherin@jenner.com
                                     rschar@jenner.com

                                     Ishan K. Bhabha
                                     Douglas E. Litvack
                                     Lauren J. Hartz
                                     JENNER & BLOCK LLP
                                     1099 New York Avenue, NW
                                     Suite 900
                                     Washington, DC 20001-4412
                                     Tel: 202-637-6327
                                     ibhabha@jenner.com
                                     dlitvack@jenner.com
                                     lhartz@jenner.com

                                     Counsel for Defendant Trustees of Dartmouth
                                     College

                                     By: /s/ Scott D. Stein
                                     Scott D. Stein
                                     Benjamin R. Brunner
                                     Kelsey Annu-Essuman
                                     SIDLEY AUSTIN LLP
                                     1 South Dearborn Street
                                     Chicago, IL 60603
                                     Tel.: 414-559-2434
                                     sstein@sidley.com
                                     bbrunner@sidley.com
                                     kannuessuman@sidley.com

                                     Counsel for Defendant Northwestern
                                     University



                                      17
Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 23 of 24 PageID #:3402




                                     By: /s/ Robert A. Van Kirk
                                     Robert A. Van Kirk
                                     Cole T. Wintheiser
                                     Jonathan Pitt
                                     Matthew D. Heins
                                     Sarah F. Kirkpatrick
                                     WILLIAMS & CONNOLLY LLP
                                     725 Twelfth Street, N.W.
                                     Washington, D.C. 20005
                                     Tel: 202-434-5163
                                     rvankirk@wc.com
                                     cwintheiser@wc.com
                                     jpitt@wc.com
                                     mheins@wc.com
                                     skirkpatrick@wc.com

                                     James Peter Fieweger
                                     MICHAEL BEST & FRIEDRICH LLP
                                     444 West Lake Street
                                     Suite 3200
                                     Chicago, IL 60606
                                     Tel.: 312-222-0800
                                     jpfieweger@michaelbest.com

                                     Counsel for Defendant University of Notre
                                     Dame du Lac

                                     By: /s/ Charles A. Loughlin
                                     Charles A. Loughlin
                                     Benjamin F. Holt
                                     HOGAN LOVELLS US LLP
                                     555 Thirteenth Street, NW
                                     Washington, DC 20004-1109
                                     Tel: 202-637-5600
                                     chuck.loughlin@hoganlovells.com
                                     benjamin.holt@hoganlovells.com

                                     Stephen Novack
                                     Stephen J. Siegel
                                     Serena G. Rabie
                                     NOVACK AND MACEY LLP
                                     100 North Riverside Plaza, 15th Floor
                                     Chicago, IL 60606-1501
                                     Tel.: 312-419-6900



                                      18
Case: 1:22-cv-00125 Document #: 276 Filed: 01/14/23 Page 24 of 24 PageID #:3403




                                     snovack@novackmacey.com
                                     ssiegel@novackmacey.com
                                     srabie@novackmacey.com

                                     Counsel for Defendant Yale University




                                      19
